                           United States District Court
                         Western District of North Carolina
                                Statesville Division

             Victoria Cha,             )              JUDGMENT IN CASE
                                       )
              Plaintiff(s),            )                5:20-cv-00174-DCK
                                       )
                  vs.                  )
                                       )
   Commissioner of Social Security ,   )
           Defendant(s).               )

 DECISION BY COURT. This action having come before the Court by Motion and a decision
having been rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s October 19, 2021 Order.




                                            Signed: October 19, 2021




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